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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 21-51345-jrs

 LARRY DARNELL GORE, JR.,                               CHAPTER: 13

                Debtor.                                 JUDGE: JAMES R. SACCA


                     NOTICE OF LOAN FORBEARANCE AGREEMENT

       Navy Federal Credit Union (hereinafter “Creditor”), secured creditor of the above entitled

Debtor(s), hereby provides notice that Creditor and Debtor(s) have entered into a Forbearance

Agreement due to the impact of COVID-19. The Forbearance Agreement relates to the loan ending

in ******3021, hereinafter “Loan”, which is secured by the real property located at 198 Melody

Lane, Lawrenceville, Georgia 30043. Under the Forbearance Agreement, payments due under the

Loan are suspended beginning with the payment due on February 1, 2021 through and including

the payment due April 1, 2021.
       This Notice does not constitute an amendment and/or modification of the Loan. Creditor,

at this time, does not waive any rights to collect the payments that come due during the forbearance

period after the forbearance plan ends. Furthermore, Creditor does not waive its rights under other

applicable non-bankruptcy laws and regulations, including, but not limited to, RESPA, and the
right to collect any post-petition escrow shortage. During the forbearance period Creditor may

continue to file notices in compliance with Fed. Rule Bankr. P. 3002.1.

       Because of the uncertainties surrounding how long this pandemic will last, Creditor will

work with Debtor(s) or Debtor(s)’ counsel to determine when Debtor(s) will be able to resume

making mortgage payments and when/how the Debtor(s) will cure the delinquency created by the

forbearance period (“forbearance arrears”). Once the forbearance plan ends and the Creditor and

Debtor(s) or Debtor(s)’ counsel agree on an appropriate repayment or loss mitigation program,

Creditor will file a notice or an amended/supplemental claim consistent with local practice.

       Creditor does not waive its rights to seek relief from the automatic stay for reasons other
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than non-payment of the Mortgage.

       This Notice does not constitute an amendment or modification to the Debtor(s)’ plan of

reorganization, and does not relieve the Debtor(s) of the responsibility to amend or modify the

plan of reorganization to reflect the Forbearance Agreement, if required.

                                                    Respectfully submitted,

Dated: March 3, 2021                                ALDRIDGE PITE, LLP


                                                      /s/Andrew H. McCullen
                                                      Andrew H. McCullen, Bar No.: 872658
                                                      Attorney for Creditor Navy Federal Credit
                                                      Union
                                                      Aldridge Pite, LLP
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (619) 590-1385
                                                      Email: amccullen@aldridgepite.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                                                 Case No. 21-51345-JRS

  LARRY DARNELL GORE, JR.,                               Chapter 13

                  Debtor.


                                 CERTIFICATE OF SERVICE

        This is to certify that on this day I electronically filed the foregoing Notice of Forbearance
Agreement using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice
of this document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

 John Gerard Brookhuis                                 Nancy J. Whaley

        I further certify that on this day I caused a copy of this document to be served via United
States First Class Mail, with adequate postage prepaid on the following parties set forth below at
the address shown for each.

 Larry Darnell Gore, Jr.
 198 Melody Lane
 Lawrenceville, GA 30043

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Dated: March 3, 2021                            /s/Andrew H. McCullen
                                                 Andrew H. McCullen, Bar No.: 872658
                                                 Attorney for Navy Federal Credit Union
                                                 Aldridge Pite, LLP
                                                 Fifteen Piedmont Center
                                                 3575 Piedmont Road, N.E., Suite 500
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